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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            No. 1:20-cr-183

               vs.                                          Hon. Robert J. Jonker
                                                            Chief United States District Judge
KALEB JAMES FRANKS,

                  Defendant.
_________________________________/

             GOVERNMENT’S RESPONSE TO APPEAL OF MAGISTRATE
                JUDGE’S ORDER DENYING MOTION TO COMPEL


       The defendant restates the arguments in his discovery motions but provides no grounds

for finding the Magistrate Court erred in denying them. Its ruling should therefore be affirmed.

                                             FACTS

       1.      In July 2021, defendant Franks filed a motion to compel disclosure of confidential

human source (CHS) files (R. 258: Franks Motion to Compel, PageID.1400), and joined a

motion to access CHS and FBI agent cell phones. (R. 225: Caserta Motion to Compel,

PageID.1260; R. 252: Franks Motion to Join, PageID.1375.) The government responded that it

would follow the ordinary rules of discovery, and produce the materials required by law at the

appropriate times. (R. 260: Government’s Response, PageID.1427.)

       2.      In August Franks filed a reply, which was mostly self-exculpating claim of

entrapment. (R. 286: Reply Brief, PageID.1661.) He filed a supplemental brief reiterating that

narrative. (R. 315: Supplemental Brief, PageID.1864.) He cited an internet story for evidence,

and included a superfluous 2012 NPR link about the unrelated Ted Stevens prosecution. (Id.,

PageID.1865, 1872.) Franks then accused the FBI – without evidence – of orchestrating a “cover
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up,” of “spoliation of evidence,” of being “sinister,” and of “suspected misconduct ... turning into

a runaway train.” (R. 316: Second Supplemental Brief, PageID.315-16.)

       3.       On September 2, 2020, the Hon. Sally J. Berens, United States Magistrate Judge,

conducted a hearing on the defendant’s motions, and observed that his flurry of pleadings

seemed to be intended more for the press than for the court. (R. 338: Hr’g Tr., PageID.2079.)

Franks admitted he had no authority for the proposition that he was entitled to an informant’s cell

phone. (R. 338: Hr’g Tr., PageID.2072.) He failed to identify any authority for discovery of

complete CHS files, relying instead on the conclusory argument, “[W]e think that there could be

significant exculpatory evidence …it’s all Brady.” (Id., PageID.2082.) The Court noted, “Well,

the problem is when you say we just don’t know, that essentially demonstrates that this is a

fishing expedition.” (Id., PageID.2077.) The Court denied both motions. (R. 325: Order,

PageID.1941.)

       4.       On September 16, 2021, Franks appealed. (R. 343: Appeal, PageID.2136.) He

restates the arguments from his earlier pleadings, but does not identify how Judge Berens’ ruling

was supposedly contrary to law or clearly erroneous. (Id.) He incorrectly asserts the government

“will not even concede the exculpatory nature of things like financial inducements.” (Id., at

2144.) As to Franks’ unsubstantiated claim that an FBI agent has a financial interest in the

outcome of this case, the government actually stated, “[I]f we were to find out that there was

some financial interest that would make him want to go out and entrap people, of course we

would tell the defense about that.” (R. 338: Hr’g Tr., PageID.2093.) As to CHS payments, the

government committed to turning over the pertinent Brady and Giglio materials at the usual time.

(Id., PageID.2094.)




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       5.      Franks repeats his grave and unsubstantiated allegations of misconduct against

two veteran FBI agents, apparently again for press consumption. (R. 343: Appeal, PageID.2147.)

He refers to “this link between SA Chambers and a company looking to peddle its services in the

intelligence community” as an established fact, even though the Court found it was based on an

“[internet] article and very little else.” (Id., PageID.2140; R. 338: Hr’g Tr., PageID.2089.) He

calls SA Impola a perjurer, without qualification or supporting evidence. (R. 343: Appeal,

PageID.2148.) The record establishes only that a second defense attorney claimed a third defense

attorney had made a “not … flippant, you know, accusation” to that effect in another case. (R.

338: Hr’g Tr., PageID.2046.) Franks does not tie these calumnies to his argument.

                                    LAW AND ARGUMENT

       A district judge may refer nondispositive matters (that is, any matter that does not dispose

of a charge or defense) to a magistrate judge for determination. Fed. R. Crim. P. 59(a). The rules

of this district provide: “Dispositive motions are motions to dismiss or quash an indictment or

information made by the defendant, to suppress evidence in a case, to involuntarily dismiss an

action, and other dispositive motions as defined by law.” L. Cr. R. 47.1(a). All other motions are

nondispositive. L. Cr. R. 47.2(a). That includes the discovery rulings Franks appeals here.

       After the magistrate judge conducts the required proceedings and enters her order, a party

may file objections within 14 days. Fed. R. Crim. P. 59(a). The district judge must consider

timely objections and modify or set aside any part of the order that is contrary to law or clearly

erroneous. Id. A factual finding is clearly erroneous “when the reviewing court on the entire

evidence is left with the definite and firm conviction that a mistake has been committed.”

United States v. McGee, 494 F.3d 551, 554 (6th Cir. 2007), citing Tran v. Gonzales, 447 F.3d

937, 943 (6th Cir. 2006).



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       Franks identifies no grounds on this record to find Judge Berens’ ruling was either

contrary to law or clearly erroneous. His brief has authority for unremarkable things like the

definition of entrapment, and the requirement to turn over Brady and Giglio materials. He

provides no authority, however, for the proposition that he is entitled to fish through agent or

informant phones for evidence. He provides no authority that he is entitled to fish through the

files of any CHS for Brady material, either. The production of such material is the government’s

responsibility. Pennsylvania v. Ritchie, 480 U.S. 39, 59 (1987).

       Franks argued he was entitled to such unprecedented access because the FBI supposedly

could not be trusted. But he supported that argument only with speculation and unsupported

accusations. That is simply not enough to leave this Court with the definite and firm conviction

that the Magistrate Judge made a mistake in denying his motions.

                                              Respectfully submitted,

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Dated: September 27, 2021                       /s/ Nils R. Kessler
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